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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

IN RE: ) .

. No. 07-10416 (KJC)
NEW CENTURY TRS HOLDINGS,
INC., a Delaware Corporation, et al., Chapter 11

Debtors.

Nee Nee ee ee ee”

DECLARATION OF REVENUE AGENT DAVID FLORES

|, David Flores, do hereby declare and depose, pursuant to 28 U.S.C. § 1746(2),

the following:

1. Tam a duly commissioned Revenue Agent employed in the Large & Mid-sized
Business Division of the Internal Revenue Service, Heavy Manufacturing &
Transportation Industry, West Region Field Office, with a post of duty located at
Laguna Niguel, California.

2. In my capacity as a Revenue Agent, I am the primary person examining an
application for a tentative carryback adjustment (the “Tax Refund”) submitted by
the Debtors in the above-referenced case on July 17, 2007 on Form 1139.

3. As of the date of this declaration, no decision has been made about whether to

allow or to deny the Tax Refund.

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I declare under penalty of perjury that the foregoing is true and correct.

Executed on November 21, 2007

David Flores ,
Revenue Agent

Internal Revenue Service
Laguna Niguel, California 92677

2888117.1
